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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      Miami Division

   PDVSA US LITIGATION TRUST

               Plaintiff,

         vs.

   LUKOIL PAN AMERICAS LLC; LUKOIL
   PETROLEUM LTD.; COLONIAL OIL
   INDUSTRIES, INC.; COLONIAL GROUP,
   INC.; GLENCORE LTD.; GLENCORE
   INTERNATIONAL A.G.; GLENCORE
   ENERGY UK LTD.; MASEFIELD A.G.;
   TRAFIGURA A.G.; TRAFIGURA
   TRADING LLC; TRAFIGURA BEHEER
   B.V.; VITOL ENERGY (BERMUDA) LTD.;
   VITOL S.A.; VITOL, INC.; FRANCISCO
   MORILLO; LEONARDO BAQUERO;               Case No. 1:18-cv-20818-DPG
   DANIEL LUTZ; LUIS LIENDO; JOHN
   RYAN; MARIA FERNANDA RODRIGUEZ;
   HELSINGE HOLDINGS, LLC; HELSINGE,
   INC.; HELSINGE LTD., SAINT-HÉLIER;
   WALTROP CONSULTANTS, C.A.;
   GODELHEIM, INC.; HORNBERG INC.;
   SOCIETE DOBERAN, S.A.; SOCIETE
   HEDISSON, S.A.; SOCIETE HELLIN, S.A.;
   GLENCORE DE VENEZUELA, C.A.; JEHU
   HOLDING INC.; ANDREW SUMMERS;
   MAXIMILIANO POVEDA; JOSE
   LAROCCA; LUIS ALVAREZ; GUSTAVO
   GABALDON; SERGIO DE LA VEGA;
   ANTONIO MAARRAOUI; CAMPO ELIAS
   PAEZ; PAUL ROSADO; BAC FLORIDA
   BANK; EFG INTERNATIONAL A.G.; BLUE
   BANK INTERNATIONAL N.V.

               Defendants.



       JOINT REQUEST FOR STATUS CONFERENCE ON APRIL 4, 2018 AND A
      SCHEDULE FOR LIMITED AND EXPEDITED DISCOVERY, BRIEFING, AND
                HEARING REGARDING PLAINTIFF’S STANDING
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          Trafigura Trading, LLC; BAC Florida Bank; Colonial Oil Industries, Inc., Colonial

   Group, Inc., and Paul Rosado; Glencore Ltd., Glencore Energy UK Ltd., Gustavo Gabaldon, and

   Sergio De La Vega; Lukoil Pan Americas LLC; and Vitol Energy (Bermuda) Ltd., Vitol Inc.,

   and Antonio Maarraoui (“Joining Parties”) respectfully request that the Court set a status

   conference in this matter for April 4, 2018 at 9:30 a.m.—when this Court already has scheduled

   the parties to appear on Plaintiff PDVSA US Litigation Trust’s (“Plaintiff[’s]”) Ex Parte Motion

   for a … Preliminary Injunction [ECF No. 5].1

          At that status conference, the Joining Parties seek: (1) a schedule for limited and

   expedited discovery into whether Plaintiff has standing to bring the claims it asserts in this action;

   (2) a schedule for briefing related to Plaintiff’s standing following the limited discovery; (3) a

   date for a hearing at the Court’s earliest convenience after the close of discovery and briefing on

   Plaintiff’s alleged standing, where the Court can receive testimony, evidence, and argument

   regarding Plaintiff’s standing; and (4) a stay of the remainder of this action, including all answers,

   motions, and other responses, until the issues with Plaintiff’s alleged standing are finally

   resolved.2


          1
              In response to our request for Plaintiff to join in this request, it responded “[w]e do not
   oppose a request for a status conference to be set for April 4, 2018 so long as it follows the
   preliminary injunction hearing, long scheduled for that day. We would oppose any attempt to
   avoid the preliminary injunction hearing. We oppose your proposal to delay this case and alter
   the normal discovery procedures and priorities.” The other parties did not take a position by the
   time this request was filed.
          2
              There are many other issues that some or all of the Joining Parties, and presumably the
   other Defendants, likely will raise should Plaintiff establish standing, including lack of personal
   jurisdiction, improper venue, insufficient service of process, failure to state a claim upon which
   relief may be granted, premature merits discovery, the right to compel arbitration, and misuse of
   Rule 45 subpoenas—all of which are preserved under the Federal Rules. See Fed. R. Civ. P.
   12(g)(2) (“Except as provided in Rule 12(h)(2) or (3), a party that makes a motion under this rule
   must not make another motion under this rule raising a defense or objection that was available to
   the party but omitted from its earlier motion.”); Fed. R. Civ. P. 12(h)(3) (allowing, “at any time,”



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          The Federal Rules unambiguously require that, “[i]f the court determines at any time that

   it lacks subject-matter jurisdiction, the court must dismiss the action.” Fed. R. Civ. P. 12(h)(3)

   (emphasis added). “No principle is more fundamental to the judiciary’s proper role in our

   system of government than the constitutional limitation of federal-court jurisdiction to actual

   cases or controversies.” Raines v. Byrd, 521 U.S. 811, 818 (1997). Standing to sue, a doctrine

   deeply rooted in the concept of a case or controversy, “limits the category of litigants empowered

   to maintain a lawsuit in federal court to seek redress for a legal wrong.” Spokeo, Inc. v. Robins,

   136 S. Ct. 1540, 1547 (2016). The “irreducible constitutional minimum” of standing consists of

   three elements. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). “The plaintiff must

   have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the

   defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo, 136 S.

   Ct. at 1547. “The plaintiff, as the party invoking federal jurisdiction, bears the burden of

   establishing these elements.” Id.; see also Mejia v. Uber Technologies, Inc., No. 17-cv-61617,

   2018 WL 930924, at *2-3 (S.D. Fla. Feb. 16, 2018) (dismissing sua sponte because plaintiff

   failed to prove standing, which the Court considered a “threshold jurisdictional question”).

          Because standing is a threshold issue, it is critical to resolve disputes over Plaintiff’s

   alleged standing (both legal and factual) at the very outset of this litigation. See Steel Co. v.

   Citizens for a Better Environment, 523 U.S. 83, 94-95 (1998) (rejecting “hypothetical

   jurisdiction”). It is especially important here because the existence of a case or controversy is in

   doubt and Plaintiff’s lack of standing is separate from the underlying claims, with separate facts

   and separate legal principles. In short, the Plaintiff is not PDVSA, but instead some ambiguous



   parties to move, and the Court to consider, challenges to subject-matter jurisdiction). This
   request is without prejudice to all other such claims and defenses that Defendants may assert.



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   structure described by Plaintiff as a “trust.” There are obvious questions to whether that

   structure was validly constituted and has the capacity and authority to bring these claims. And,

   there is no evidence that Plaintiff actually and legally acquired the right to assert PDVSA’s

   claims. In fact, there is evidence already in the record undermining, and raising serious

   questions with, Plaintiff’s standing. See ECF No. 161-1 (attaching a document titled “PDVSA

   U.S. Litigation Trust Agreement” that appears legally invalid).

          Where, as here, a defendant challenges the accuracy or existence of a plaintiff’s standing

   (or if the Court has reason to question it), the Court may “inquire, by affidavits or otherwise, into

   the facts.” Land v. Dollar, 330 U.S. 731, 735 n.4 (1947) (distinguishing between a motion to

   dismiss for failure to state a cause of action and a motion to dismiss for lack of jurisdiction); see

   also 2 James William Moore et al., Moore’s Federal Practice § 12.30[3], at nn.8-9 (3d ed. 1997)

   (collecting cases for the proposition that “[a]lso unlike a Rule 12(b)(6) dismissal, the court need

   not confine its evaluation to the face of the pleadings, but may review or accept any evidence,

   such as affidavits, or it may hold an evidentiary hearing”); 11 James William Moore et al.,

   Moore’s Federal Practice § 56.04[3][d][ii] (3d ed. 1997) (“If the parties dispute jurisdictional

   facts, the court is not limited to a summary judgment-like record; it may hold a full evidentiary

   hearing. Nor is the court restricted to determining whether there is a genuine dispute as to the

   facts. The court must decide the jurisdictional dispute by weighing the evidence and finding the

   facts.”); 5B Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1350, at

   160 (3d ed. 2004) (citing “a wide array of cases from the four corners of the federal judicial

   system involving the district court’s broad discretion to consider relevant and competent

   evidence” in jurisdiction disputes). As Judge Easterbrook stated: “When jurisdiction or venue

   depends on contested facts—even facts closely linked to the merits of the claim—the district




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   judge is free to hold a hearing and resolve the dispute before allowing the case to proceed.”

   Szabo v. Bridgeport Machs., Inc., 249 F.3d 672, 676-77 (7th Cir. 2001) (emphasis added); see

   also Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 352-53 (2011) (endorsing Judge

   Easterbrook’s view). Thus, limited and expedited discovery, briefing, a hearing, and a final

   decision about Plaintiff’s alleged standing is critical here in the first instance.3

           Finally, since standing is a threshold issue, everything else should be stayed pending the

   Court’s final resolution of its jurisdiction. That would include preserving all pleading and merits

   issues, motions, and discovery until this Court’s jurisdiction is established. There is no prejudice

   to Plaintiffs of such a necessary stay, as the Joining Parties have taken steps to preserve

   documents and sought to meet and confer on a reasonable document preservation stipulation.

   See ECF Nos. 155-160.

           Therefore, the Joining Parties respectfully request that the Court order that:

                   1.      A status conference in this matter be set for April 4, 2018 at 9:30 a.m.

                   2.      Defendants may immediately conduct discovery (as detailed below)

           regarding Plaintiff’s alleged standing.4

                   3.      Defendants may: (a) serve upon Plaintiff ten interrogatories under Rule 33,

           with Plaintiff’s responses due within five days after being served, which do not count

           toward any limits in merits discovery; (b) serve upon Plaintiff ten requests for production

           or inspection under Rule 34, with Plaintiff’s responses due within five days after being
           3
             The Joining Parties expect that the standing issues likely will include issues about
   foreign law. “In determining foreign law, the court may consider any relevant material or source,
   including testimony, whether or not submitted by a party or admissible under the Federal Rules
   of Evidence.” Fed. R. Civ. P. 44.1.
           4
              Since Plaintiff and affiliated non-parties possess any relevant information about
   Plaintiff’s alleged standing, there is no need or basis for Plaintiff to conduct discovery on any
   Defendant before standing is resolved.



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         served; and (c) take four depositions under Rule 30 or Rule 45, which do not count

         toward any limits in merits discovery.

                 4.     Fact discovery into Plaintiff’s alleged standing would close on April 27,

         2018.

                 5.     Plaintiff’s expert reports on its alleged standing, if any, must be served by

         May 2, 2018.

                 6.     Defendants’ expert reports on Plaintiff’s alleged standing, if any, must be

         served by May 7, 2018.

                 7.     Depositions of Plaintiff’s and Defendants’ experts, if any, must occur on

         May 8 or May 9, 2018.

                 8.     Plaintiff’s opening briefs on its standing must be filed by May 20, 2018.

                 9.     Defendants’ responsive brief on Plaintiff’s standing must be filed by May

         31, 2018.

                 10.    A hearing (where the Court can receive testimony and evidence on

         Plaintiff’s alleged standing) be set at the Court’s earliest convenience after May 31, 2018.

                 11.    All other issues and discovery in this case, including all answers, motions,

         and other responses, are preserved and stayed until the issues with Plaintiff’s alleged

         standing are finally resolved.

   Dated: March 29, 2018                               Respectfully submitted,

                                                       By: All Counsel Listed Below




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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing Joint Request for

   Status Conference on April 4, 2018 and a Schedule for Limited and Expedited Discovery,

   Briefing, and Hearing Regarding Plaintiff’s Standing was filed and served by CM/ECF, on

   March 29, 2018, on all counsel or parties of record.


                                                          /s/ Edward M. Mullins
                                                          Edward M. Mullins




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